                                           UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF NEW MEXICO

In re:                                                                Case No.
William Thomas Sheehan                                                   Original Chapter 13 Plan
                                                                         Amended Plan Number
                                                                      (e.g., 1st, 2nd)
                                 Debtor(s).                              Court-ordered Limited Service of Plan Applicable

                                                      CHAPTER 13 PLAN

Part 1:      Important Notices and General Plan Provisions.

YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. Your claim may be reduced, modified, or eliminated.

THIS PLAN DOES NOT ALLOW CLAIMS. Creditors must file timely proofs of claim to receive distributions under this
plan. Even if the plan provides for payment, no payment will be made unless a proof of claim is timely filed and allowed.
Otherwise, amounts received by the Trustee will be disbursed to other creditors. The amount of an allowed proof of claim
controls, unless the court orders otherwise.

THIS PLAN IS A “COMBO” PLAN. All pre-confirmation motions to a) limit the amount of a secured claim based on
valuation of collateral; b) strip a wholly unsecured mortgage; c) avoid a nonpossessory, nonpurchase money security
interest or judicial lien; or d) assume an executory contract or unexpired lease must be included in the plan, unless the
court for good cause orders otherwise. See NM LBR 3015-2(d).

DEFINITIONS: “Debtor” means either a single debtor or joint debtor, as applicable. “Trustee” means the Chapter
13 Trustee. Section “§” numbers refer to sections of the Bankruptcy Code. “Rule” refers to the Federal Rules of
Bankruptcy Procedure. “Plan Payments” means payments the Plan requires the Debtor to pay to the Trustee.

The Debtor must check one box on each line of the following table: If an item is checked “Not included,” both
boxes are checked, or neither box is checked, the plan provision will be void

           1.1 A limit on the amount of a secured claim, set out in Part 4.2, 4.3, and/or        Included        Not Included
               4.4, which may result in a partial payment or no payment at all to the
               secured creditor
           1.2 Avoidance of a judicial lien or a nonpossessory, nonpurchase-money                Included        Not Included
               security interest, set out in Part 8
           1.3 Nonstandard provisions, set out in Part 14.                                       Included        Not Included

Part 2:      Monthly Plan Payments and Length

2.1 Debtor’s Plan Payments. Debtor will make regular, monthly payments to the Trustee within the time required by §
1326(a) as follows (e.g., month 1 to month 24 $500; month 25 to month 60 $650):

          Start Month#                    End Month#                Plan Payment Amount                       Total
1                                 60                              900.00                          54,000.00




                                                                                   Total number of plan payments: 54,000.00

          If the payments in Part 2 are insufficient to pay all creditors as proposed by the plan, Debtor will pay the additional
          amount necessary.

2.2 Additional Payments.

          Debtor will make additional payments to Trustee from the following sources (e.g. sale proceeds; or state “None”)


NM LF 3015-2 (Effective 7/1/2022)


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           Source of payment                        Estimated amount                        Estimated payment dates


2.3 Method of Payment: (Check one). Debtor will make Plan Payments required by Part 2.1 by the following method:

             Wage Withholding Order. Debtor must make Plan Payments by other acceptable means until wage
              withholding begins

             Money Order or Certified Funds. Mail to Chapter 13 Trustee, P.O. Box 454, Memphis, TN 38101-0454;
              Include Debtor’sname and case number.

             TFS

2.4 Income Tax Returns and Refunds.

          By April 30th of each year (or within 15 days after any extended tax filing deadline), Debtor will give Trustee
          copies of all federal and state income tax returns for the preceding year, with all schedules and attachments. If
          Debtor files for an extension or is not required to file a return, then by April 30th Debtor will give Trustee an
          executed copy of the extension, or an affidavit that no return is required. Debtor will pay directly all post-petition
          taxes or estimated taxes when due. Debtor may increase tax withholding as necessary to pay required taxes
          during the tax year.

    Check one:

       Debtor will retain any income tax refunds received during the plan term.

       Debtor will turn over to Trustee all income tax refunds for tax years 2024 through 2028 no later than April 30th of
      each following year unless the Court orders otherwise

       Debtor will treat income tax refunds as follows:

Part 3:      Attorney's Fees

Debtor’s counsel charges by the hour. Counsel received $2,000.00 pre-petition for representing the Debtor in connection
with the bankruptcy case, including attorneys’ fees, applicable taxes, and costs (“fees and costs”). Post-petition, counsel
estimates charging an additional $2,500.00 in fees and costs through Plan confirmation. Within 14 days after Plan
confirmation, counsel will file a fee application for all fees and costs charged through Plan confirmation. Upon
Court approval, Trustee will pay the unpaid balance of approved fees and costs. If the approved amount is less than
the amounts already paid, counsel will remit the difference to payor within 30 days. Trustee will pay any post-confirmation
fees and costs upon Court approval.

Part 4:      Treatment of Secured Claims

4.1 Claims Secured by Real Property – Curing Defaults and Maintaining Payments.

          A. Debtor will make the following post-petition mortgage payments directly to the creditor, including taxes and
          insurance:*

          Creditor           Lien No.           Property Address               Estimated             Payment         Payment
                                                                             Monthly Payment         Start Date      End Date
-NONE-

*Direct post-petition mortgage payments under Part. 4.1.A may be proposed only if the Debtor is two months or less in
arrears as of the petition date. If the Debtor proposes to make direct post-petition mortgage payments, the Debtor must
file an affidavit (NM LF 3015-3(c)) certifying as to each mortgage addressed in Part 4.1.A the number of missed regular
monthly mortgage payments and the alleged arrearage amount.

          B. Trustee will make the following post-petition mortgage payments:

                                                                -2-

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         Creditor           Lien No.          Property Address               Estimated           Payment          Payment
                                                                           Monthly Payment       Start Date       End Date
-NONE-


If post-petition taxes and insurance are not included in the mortgage payment, the Debtor will pay those amounts
directly. The estimated monthly payments in Parts 4.1A and B may change based on filed proofs of claim or
notices of mortgage payment change. If the monthly mortgage payment increases, Debtor will increase the
Plan payment if and to the extent necessary to ensure Plan feasibility.

         C. Trustee will pay (a) pre-petition arrearages and/or amounts due because of a pre-petition default, (b) the first
         post-petition payment (“gap” payment); and/or (c) post-petition arrearages arising from a default in mortgage
         payments paid directly by Debtor as follows:

         Creditor           Lien        Property Address             Estimated        Interest        Type of Payment
                            No.                                      Arrearage          Rate           (i.e. Gap, Pre or
                                                                      Amount                             Post-petition)
-NONE-


         D. Trustee will pay the following secured real property claims in full with interest as provided below, unless a
         different interest rate is ordered by the court:

         Creditor           Lien No.              Property Address                   Estimated Claim          Interest Rate
                                                                                         Amount
-NONE-


4.2 Claims Secured by Real Property – Lien Stripping, Lien Avoidance, and Valuation.

         A. “Stripping” wholly unsecured mortgage liens

Debtor moves the Court to value real property and, upon discharge under § 1328, avoid each mortgage wholly unsecured
by the creditor’s interest in the value of the property as set forth below.

      Creditor           Property Address         Estimated Claim Property Value Estimated Amount                Basis for
                                                      Amount                         of Senior                   Valuation
                                                                                     Mortgages
-NONE-


The above property value will bind each creditor upon confirmation. Creditors will retain their mortgage liens until
discharge under § 1328 or payment in full under nonbankruptcy law, at which time the liens will be avoided. If creditor
timely objects, the confirmation hearing will include a valuation hearing under § 506 and Rule 3012. Valuation and lien
stripping require service in accordance with Rule 7004. Upon confirmation, the Trustee will pay the claim as a
nonpriority unsecured claim.

         B. Bifurcating claims secured by real property

Debtor moves the Court to value real property that is not the Debtor’s primary residence and determine the amount of
the allowed secured claim under § 506 regarding the property and claims below. The claims will be allowed and paid by
the Trustee as secured claims only to the extent of the value of the creditor’s interest in the property, and at the interest
rate, as set forth below, with the balance treated as a non-priority unsecured claim.

     Creditor            Property Address         Estimated Claim       Property Value      Estimated Amount        Interest
                                                      Amount                               of Senior Mortgages        Rate


                                                              -3-

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     Creditor           Property Address          Estimated Claim        Property Value      Estimated Amount        Interest
                                                      Amount                                of Senior Mortgages        Rate
-NONE-


The above property value will bind each creditor upon confirmation. Creditors will retain their liens until
discharge under § 1328 or payment in full under nonbankruptcy law, at which time the liens will be avoided. If a
creditor timely objects, the confirmation hearing will include a valuation hearing under § 506 and Rule 3012. Valuation
and lien avoidance require service in accordance with Rule 7004.

4.3 Claims Secured by Personal Property.

         A. Claims secured by personal property (including “910 car claims”) to be paid in fulL

The Trustee will pay the following claims in full with interest as provided below, unless a different interest rate is ordered
by the Court:

           Creditor                     Collateral/Property                Estimated Claim          Interest      Adequate
                                                                               Amount                 Rate        Protection
                                                                                                                   (Yes/No)
Conn's HomePlus                Couch, TV stand and 70" television                         9,113.00 6.00%        No
                               Location: 5095 Kensington Way, Las
                               Cruces NM 88012

         B. Bifurcating claims secured by personal property

Debtor moves the Court to value personal property and determine the amount of the allowed secured claim under § 506
regarding the property and claims below. The claims will be allowed and paid by the Trustee as secured claims only to the
extent of the value of the creditor’s interest in the property, and at the interest rate, as set forth below, with the balance
treated as a non-priority unsecured claim.

         Creditor                 Collateral/Property               Estimated Claim        Collateral Value          Interest
                                                                        Amount                                         Rate
-NONE-


The above property value will bind each creditor upon confirmation. Creditors will retain their liens until
discharge under § 1328 or payment in full under nonbankruptcy law, at which time the liens will be avoided. If a
creditor timely objects, the confirmation hearing will include a valuation hearing under § 506 and Rule 3012. Valuation
and lien avoidance require service in accordance with Rule 7004.

4.4 Secured Tax Claims

Debtor moves the Court to value property and determine the amount of the allowed secured claim under § 506 regarding
the property and tax claims below. The tax claims will be allowed and paid by the Trustee as secured claims only to the
extent of the value of the creditor’s interest in the property, and at the interest rate, as set forth below, with the balance
treated as a non-priority unsecured claim.

         Creditor                 Collateral/Property               Estimated Claim         Property Value           Interest
                                                                        Amount                                         Rate
-NONE-


The above property value will bind each creditor on confirmation. Creditors will retain their liens until discharge under §
1328 or payment in full under nonbankruptcy law, at which time the liens will be avoided. If creditor timely objects, the
confirmation hearing will include a valuation hearing under § 506 and Rule 3012. Valuation and lien avoidance requires
service in accordance with Rule 7004.


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4.5 Surrender of Property and Collateral.

Upon Plan confirmation, the Debtor will surrender all right, title and interest in the following collateral in full satisfaction of
the secured claim:

                            Creditor                                                   Collateral Surrendered
-NONE-

The automatic stay and the co-debtor stay will terminate as to the collateral upon confirmation, and the creditor
may repossess, foreclose, or sell the collateral without the need to file a motion for relief from stay. If the creditor believes
it will have a deficiency claim, it must amend its timely filed secured proof of claim within 90 days after the later of the
claims bar date or confirmation, absent leave of Court. Deficiency claims filed outside of the 90-day period will be
disallowed without further order of the Court.

Part 5:      Treatment of Priority Unsecured Claims

5.1 Domestic Support Obligation (“DSO”) Priority Claims.

Debtor will pay all post-petition DSO claims directly. Trustee will pay all allowed DSO priority claims with interest at the
below rate.
            If box is checked, § 1322(a)(4) applies and Trustee may pay less than the full amount of a government DSO
claim

 DSO Priority Creditor            Estimated Claim Amount               Interest Rate             Assigned or Owed to
                                                                                                  Governmental Unit?
                                                                                            (“government DSO claim”) See §
                                                                                                 507(a)(1)(B) (Yes/No)
-NONE-


5.2 Priority Unsecured Claims other than DSO Claims, including tax claims.

Non-DSO Priority Creditor/Tax Agency                   Est. Amount of Claim                      Basis for Priority Claim
Internal Revenue Service                                                        1,664.30 2021 tax debt


Part 6:    Separately Classified Secured and Unsecured Claims
These are claims that are not treated elsewhere in the Plan.

6.1 Separately Classified Claims Paid by the Trustee:

          Creditor                        Collateral                   Secured or             Estimated Claim           Interest
                                                                       Unsecured                  Amount                  Rate
-NONE-




6.2 Separately Classified Claims Paid Direct by Debtor or co-borrower (other than arrearage, which will be paid
by the Trustee):

   Creditor          Collateral      Co-Borrower   Estimated               Estimated        Interest     Monthly      No. of
                                       (Yes/No)  Claim Amount              Arrearage          Rate       Payment    Months
                                                                                                         Amount    Remaining
Freedom          2019 KTM            No                    $2,979.00                $0.00    Contract      $184.00 15
road             Duke
Financial        Motorcycle
Toyota           2019 Toyota         No                    30,332.00                $0.00    Contract        $714.00 55
Financial        Tundra
                                                                 -5-

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Part 7:      Executory Contracts and Unexpired Leases ("Contracts and Leases")

Debtor will assume the following Contracts and Leases:

Creditor                             Description of Contract or Lease              Estimated Arrearage        Interest Rate
-NONE-

Debtor will make all post-petition payments on assumed Contracts and Leases directly. Trustee will pay the
allowed pre-petition arrearage payments on assumed Contracts and Leases at the interest rate set forth above. All other
Contracts and Leases are rejected

Part 8:      Lien Avoidance – Other than Mortgages

Debtor moves the Court to avoid upon confirmation the judicial liens or nonpossessory, nonpurchase money security
interests (“Lien or Interest”) set forth below to extent the Lien or Interest impairs an exemption to which the Debtor is
entitled under § 522(b). The Trustee will pay in full the amount, if any, of the Lien or Interest that is not avoided as an
allowed secured claim, with interest as set forth below, with the balance treated as a non-priority unsecured claim.

   Creditor       Description      Amount of         Property          Value of        Value of          Total     Amount of
                   of Lien or        Lien or                           Property        Claimed       amount of       Lien or
                    Interest        interest                                         exemptions       all other    interest to
                                                                                                       liens or    be avoided
                                                                                                      interests
-NONE-

The Lien or Interest will be avoided on confirmation as set forth above. If the creditor timely objects, the confirmation
hearing will include a lien avoidance hearing under Â§ 522(f). Lien avoidance requires service in accordance with
Rule 7004.

Part 9:      Treatment of Non-priority, Unsecured Claims

The minimum amount the Debtor must pay to all classes of allowed non-priority unsecured claims is          or 100%
plus interest at the rate of 0 percent per annum. See Exhibit 1 (Best Interest of Creditors Test Calculation) attached
to this Plan

Part 10:     Vesting of Estate Property

Check one:

   Property of the estate, other than § 1306 property, will vest in the Debtor on Plan confirmation
   Property of the estate will vest in Debtor upon the entry of discharge, or upon dismissal or closing of the case without
discharge

If the case is converted to another chapter, property of the estate will vest in accordance with applicable law

Part 11:     Order of Distribution

Upon confirmation, the Trustee will make distributions from Plan Payments to pay the Trustee’s fees and allowed claims
in the following order of priority:

          a. First, Trustee’s fees at in the percentage fixed by the U.S. trustee;
          b. Second, post-petition monthly mortgage payments on claims secured by real property;
          c. Third, administrative expenses, including attorney’s fees;
          d. Fourth, other secured claims, arrearages owing under mortgages and/or assumed contracts and leases;
          e. Fifth, priority unsecured claims, other than government DSO claims being paid less than 100%;
          f. Sixth, government DSO claims being paid less than 100%; and
          g. Seventh, non-priority unsecured claims.
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Starting with category c., Trustee will pay claims in full before making any payment on claims in the next category.
Distributions will be paid pro rata within each category and will be sent to the creditor’s payment address of record.
Trustee will make distributions only to the extent of available funds, may exercise reasonable discretion in
determining the timing and amount of distributions, and is not required to make distributions to any creditor less
than the minimum specified in Rule 3010(b).

Part 12:    Identification of Amendment(s) and Explanation for Amendment(s)

If this is an amended Plan, the amended Plan provisions and the reason for the amendment(s) are as follows:
 Plan Provision                 Amendment                          Reason for Amendment




Part 13:    Other Standard Provisions

13.1 Pre-petition Arrearage Claims. Debtor must list all pre-petition arrearages for all claims paid pursuant to §
1322(b)(5). If the claim is not scheduled or treated in the Plan, whether the continuing payments are paid by the Debtor
or the Trustee, the Trustee is authorized to pay the allowed, pre-petition claim in full. Interest will not be paid unless stated
in the Plan or ordered by the Court.

13.2 Post-petition Claims. Trustee will pay administrative expenses for post-petition taxes per § 1305 upon the filing
of the claim. Any additional fees, charges, and expenses noticed under Rule 3002.1(c) will be treated as a secured
claim and paid by the Trustee upon the filing of the notice of additional fees, charges and expenses under Rule
3002.1(c). Trustee will pay other administrative expense claims only after Court approval. Debtor will increase
Plan Payments as necessary to fund any required payments, plus Trustee’s fees. Other post-petition claims will not
be paid unless a Plan modification is filed and approved.

13.3 Lien Retention. Unless provided otherwise in the Plan, secured creditors will retain their liens until full payment of
their claims secured by collateral as determined under applicable non-bankruptcy law.

13.4 Adequate Protection Payments. Trustee may make pre-confirmation adequate protection payments to secured
creditors if the creditor or Debtor files a certification that, (1) the Plan provides for adequate protection payments; (2) the
debt and collateral are listed on Schedule D; and (3) the creditor has timely filed a secured proof of claim that includes all
required documentation. Unless the Court orders otherwise, the payments will be 1% of the claims that will be paid in full,
or 1% of the value of the collateral for bifurcated claims. Trustee will not be required to make adequate protection
payments on claims of less than $2,000. Trustee will calculate the adequate protection payments using reasonable
discretion. Trustee will make monthly adequate protection payments until confirmation. Thereafter, Trustee will use
reasonable discretion to disburse the remaining balance of the allowed claim in accordance with Part 11. If the Plan
Payments are insufficient to pay adequate protection, Trustee will make the payments pro rata. Trustee will apply
adequate protection payments to the principal amount of the creditor’s allowed secured claim.

13.5 Debtor Refunds. Upon written request of the Debtor, the Trustee is authorized to refund to the Debtor, without Court
approval, any erroneous overpayment of regular monthly payments received during the term of the Plan that have not
been previously disbursed

13.6Debt Secured by Principal Residence. A creditor may mail Debtor all correspondence, notices, statements,
payment coupons, escrow notices and default notices concerning any change to the monthly payment or interest rate
without violating the automatic stay. Creditor must also comply with Rule 3002.1.

13.7 Separate Lien Avoidance Orders. If this Plan includes a motion to avoid a nonpossessory, nonpurchase money
security interest or judicial lien, Debtor may submit separate orders avoiding such liens together with the confirmation
order. If this Plan includes a motion to strip a wholly unsecured mortgage upon discharge or avoid a lien upon discharge,
Debtor may submit a separate order after discharge.

13.8 Claims Objections. The deadline to object to a timely filed proof of claim is 60 days after the applicable claims bar
date unless extended by further order of the court.
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Part 14:      Nonstandard Provisions

The Plan includes the following nonstandard provision(s)

To the extent a nonstandard provision conflicts with any other Plan provision, the nonstandard provision controls. The
nonstandard provisions will be effective only if the “included” box is marked in Part 1.3. Any nonstandard
provision placed elsewhere in the Plan is void.

By signing this Plan below, the attorney or self-represented Debtor certifies that this Plan contains no
nonstandard provision other than those set out in this Part 14.

Part 15:      Signatures

/s/ R. "Trey" Arvizu, III                     Date    March 19, 2024
Signature of Debtor's Attorney
Name of Debtor's Attorney R. "Trey" Arvizu, III

/s/ William Thomas Sheehan                    Date    March 19, 2024
Signature of Debtor

                                              Date
Signature of Debtor




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                                                Exhibit 1
                          BEST INTEREST OF CREDITORS TEST (“BICT”) CALCULATION


    Asset                                         Value      Costs of     Exemption     Secured Debt                  Net
                                                           Sale (COS)                                       Non-Exempt
                                                                                                          Value of Asset
                                                                                                         (Value less COS
                                                                                                          less Exemption
                                                                                                            less Secured
                                                                                                                    Debt)
1   2019 Toyota Tundra                        $30,332.00           0.00          0.00       30,332.00                0.00

2   2019 KTM 790 Duke Motorcycle               $6,190.00           0.00      3,211.00         2,979.00               0.00

3   Couch, TV stand and 70"                    $2,000.00           0.00          0.00         9,113.00               0.00
    television
    Location: 5095 Kensington Way,
    Las Cruces NM 88012
4   Thrift Savings Plan: ederal              $109,000.00           0.00    109,000.00             0.00               0.00
    Retirement Thrift Investment
    Board
                                                           Total Net Value of Non-Exempt Assets:                     0.00



                                                                   {
                                                                           Less (25% of first $5,000):               0.00
                                                  § 326(a)                Less (10% of next $45,000)                 0.00
                                                calculation              Less (5% of next $950,000):                 0.00
                                                                    Less (3% of amount over $1MM):                   0.00
                                         Less Chapter 7 Administrative Expenses as explained below:                  0.00
                                                               Amount to be paid to satisfy BICT:                    0.00

       Explanation of other Chapter 7 Administrative Expenses:




                                                             -9-

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                                           UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF NEW MEXICO

In re:                                                                Case No.
William Thomas Sheehan                                                   Original Chapter 13 Plan
                                                                         Amended Plan Number
                                                                      (e.g., 1st, 2nd)
                                 Debtor(s).                              Court-ordered Limited Service of Plan Applicable

                                                      CHAPTER 13 PLAN

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Otherwise, amounts received by the Trustee will be disbursed to other creditors. The amount of an allowed proof of claim
controls, unless the court orders otherwise.

THIS PLAN IS A “COMBO” PLAN. All pre-confirmation motions to a) limit the amount of a secured claim based on
valuation of collateral; b) strip a wholly unsecured mortgage; c) avoid a nonpossessory, nonpurchase money security
interest or judicial lien; or d) assume an executory contract or unexpired lease must be included in the plan, unless the
court for good cause orders otherwise. See NM LBR 3015-2(d).

DEFINITIONS: “Debtor” means either a single debtor or joint debtor, as applicable. “Trustee” means the Chapter
13 Trustee. Section “§” numbers refer to sections of the Bankruptcy Code. “Rule” refers to the Federal Rules of
Bankruptcy Procedure. “Plan Payments” means payments the Plan requires the Debtor to pay to the Trustee.

The Debtor must check one box on each line of the following table: If an item is checked “Not included,” both
boxes are checked, or neither box is checked, the plan provision will be void

           1.1 A limit on the amount of a secured claim, set out in Part 4.2, 4.3, and/or        Included        Not Included
               4.4, which may result in a partial payment or no payment at all to the
               secured creditor
           1.2 Avoidance of a judicial lien or a nonpossessory, nonpurchase-money                Included        Not Included
               security interest, set out in Part 8
           1.3 Nonstandard provisions, set out in Part 14.                                       Included        Not Included

Part 2:      Monthly Plan Payments and Length

2.1 Debtor’s Plan Payments. Debtor will make regular, monthly payments to the Trustee within the time required by §
1326(a) as follows (e.g., month 1 to month 24 $500; month 25 to month 60 $650):

          Start Month#                    End Month#                Plan Payment Amount                       Total
1                                 60                              900.00                          54,000.00




                                                                                   Total number of plan payments: 54,000.00

          If the payments in Part 2 are insufficient to pay all creditors as proposed by the plan, Debtor will pay the additional
          amount necessary.

2.2 Additional Payments.

          Debtor will make additional payments to Trustee from the following sources (e.g. sale proceeds; or state “None”)


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           Source of payment                        Estimated amount                        Estimated payment dates


2.3 Method of Payment: (Check one). Debtor will make Plan Payments required by Part 2.1 by the following method:

             Wage Withholding Order. Debtor must make Plan Payments by other acceptable means until wage
              withholding begins

             Money Order or Certified Funds. Mail to Chapter 13 Trustee, P.O. Box 454, Memphis, TN 38101-0454;
              Include Debtor’s name and case number.

             TFS

2.4 Income Tax Returns and Refunds.

          By April 30th of each year (or within 15 days after any extended tax filing deadline), Debtor will give Trustee
          copies of all federal and state income tax returns for the preceding year, with all schedules and attachments. If
          Debtor files for an extension or is not required to file a return, then by April 30th Debtor will give Trustee an
          executed copy of the extension, or an affidavit that no return is required. Debtor will pay directly all post-petition
          taxes or estimated taxes when due. Debtor may increase tax withholding as necessary to pay required taxes
          during the tax year.

    Check one:

       Debtor will retain any income tax refunds received during the plan term.

       Debtor will turn over to Trustee all income tax refunds for tax years      2024    through    2028    no later than April
      30th of each following year unless the Court orders otherwise

       Debtor will treat income tax refunds as follows:

Part 3:      Attorney's Fees

Debtor’s counsel charges by the hour. Counsel received $2,000.00 pre-petition for representing the Debtor in connection
with the bankruptcy case, including attorneys’ fees, applicable taxes, and costs (“fees and costs”). Post-petition, counsel
estimates charging an additional $2,500.00 in fees and costs through Plan confirmation. Within 14 days after Plan
confirmation, counsel will file a fee application for all fees and costs charged through Plan confirmation. Upon
Court approval, Trustee will pay the unpaid balance of approved fees and costs. If the approved amount is less than
the amounts already paid, counsel will remit the difference to payor within 30 days. Trustee will pay any post-confirmation
fees and costs upon Court approval.

Part 4:      Treatment of Secured Claims

4.1 Claims Secured by Real Property – Curing Defaults and Maintaining Payments.

          A. Debtor will make the following post-petition mortgage payments directly to the creditor, including taxes and
          insurance:*

          Creditor           Lien No.           Property Address               Estimated             Payment         Payment
                                                                             Monthly Payment         Start Date      End Date
-NONE-

*Direct post-petition mortgage payments under Part. 4.1.A may be proposed only if the Debtor is two months or less in
arrears as of the petition date. If the Debtor proposes to make direct post-petition mortgage payments, the Debtor must
file an affidavit (NM LF 3015-3(c)) certifying as to each mortgage addressed in Part 4.1.A the number of missed regular
monthly mortgage payments and the alleged arrearage amount.

          B. Trustee will make the following post-petition mortgage payments:

                                                                -2-

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         Creditor           Lien No.          Property Address               Estimated           Payment          Payment
                                                                           Monthly Payment       Start Date       End Date
-NONE-


If post-petition taxes and insurance are not included in the mortgage payment, the Debtor will pay those amounts
directly. The estimated monthly payments in Parts 4.1A and B may change based on filed proofs of claim or
notices of mortgage payment change. If the monthly mortgage payment increases, Debtor will increase the
Plan payment if and to the extent necessary to ensure Plan feasibility.

         C. Trustee will pay (a) pre-petition arrearages and/or amounts due because of a pre-petition default, (b) the first
         post-petition payment (“gap” payment); and/or (c) post-petition arrearages arising from a default in mortgage
         payments paid directly by Debtor as follows:

         Creditor           Lien        Property Address             Estimated        Interest        Type of Payment
                            No.                                      Arrearage          Rate           (i.e. Gap, Pre or
                                                                      Amount                             Post-petition)
-NONE-


         D. Trustee will pay the following secured real property claims in full with interest as provided below, unless a
         different interest rate is ordered by the court:

         Creditor           Lien No.              Property Address                   Estimated Claim          Interest Rate
                                                                                         Amount
-NONE-


4.2 Claims Secured by Real Property – Lien Stripping, Lien Avoidance, and Valuation.

         A. “Stripping” wholly unsecured mortgage liens

Debtor moves the Court to value real property and, upon discharge under § 1328, avoid each mortgage wholly unsecured
by the creditor’s interest in the value of the property as set forth below.

      Creditor           Property Address         Estimated Claim Property Value Estimated Amount                Basis for
                                                      Amount                         of Senior                   Valuation
                                                                                     Mortgages
-NONE-


The above property value will bind each creditor upon confirmation. Creditors will retain their mortgage liens until
discharge under § 1328 or payment in full under nonbankruptcy law, at which time the liens will be avoided. If creditor
timely objects, the confirmation hearing will include a valuation hearing under § 506 and Rule 3012. Valuation and lien
stripping require service in accordance with Rule 7004. Upon confirmation, the Trustee will pay the claim as a
nonpriority unsecured claim.

         B. Bifurcating claims secured by real property

Debtor moves the Court to value real property that is not the Debtor’s primary residence and determine the amount of
the allowed secured claim under § 506 regarding the property and claims below. The claims will be allowed and paid by
the Trustee as secured claims only to the extent of the value of the creditor’s interest in the property, and at the interest
rate, as set forth below, with the balance treated as a non-priority unsecured claim.

     Creditor            Property Address         Estimated Claim       Property Value      Estimated Amount        Interest
                                                      Amount                               of Senior Mortgages        Rate


                                                              -3-

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     Creditor           Property Address          Estimated Claim        Property Value      Estimated Amount        Interest
                                                      Amount                                of Senior Mortgages        Rate
-NONE-


The above property value will bind each creditor upon confirmation. Creditors will retain their liens until
discharge under § 1328 or payment in full under nonbankruptcy law, at which time the liens will be avoided. If a
creditor timely objects, the confirmation hearing will include a valuation hearing under § 506 and Rule 3012. Valuation
and lien avoidance require service in accordance with Rule 7004.

4.3 Claims Secured by Personal Property.

         A. Claims secured by personal property (including “910 car claims”) to be paid in fulL

The Trustee will pay the following claims in full with interest as provided below, unless a different interest rate is ordered
by the Court:

           Creditor                     Collateral/Property                Estimated Claim          Interest      Adequate
                                                                               Amount                 Rate        Protection
                                                                                                                   (Yes/No)
Conn's HomePlus                Couch, TV stand and 70" television                         9,113.00 6.00%        No
                               Location: 5095 Kensington Way, Las
                               Cruces NM 88012

         B. Bifurcating claims secured by personal property

Debtor moves the Court to value personal property and determine the amount of the allowed secured claim under § 506
regarding the property and claims below. The claims will be allowed and paid by the Trustee as secured claims only to the
extent of the value of the creditor’s interest in the property, and at the interest rate, as set forth below, with the balance
treated as a non-priority unsecured claim.

         Creditor                 Collateral/Property               Estimated Claim        Collateral Value          Interest
                                                                        Amount                                         Rate
-NONE-


The above property value will bind each creditor upon confirmation. Creditors will retain their liens until
discharge under § 1328 or payment in full under nonbankruptcy law, at which time the liens will be avoided. If a
creditor timely objects, the confirmation hearing will include a valuation hearing under § 506 and Rule 3012. Valuation
and lien avoidance require service in accordance with Rule 7004.

4.4 Secured Tax Claims

Debtor moves the Court to value property and determine the amount of the allowed secured claim under § 506 regarding
the property and tax claims below. The tax claims will be allowed and paid by the Trustee as secured claims only to the
extent of the value of the creditor’s interest in the property, and at the interest rate, as set forth below, with the balance
treated as a non-priority unsecured claim.

         Creditor                 Collateral/Property               Estimated Claim         Property Value           Interest
                                                                        Amount                                         Rate
-NONE-


The above property value will bind each creditor on confirmation. Creditors will retain their liens until discharge under §
1328 or payment in full under nonbankruptcy law, at which time the liens will be avoided. If creditor timely objects, the
confirmation hearing will include a valuation hearing under § 506 and Rule 3012. Valuation and lien avoidance requires
service in accordance with Rule 7004.


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4.5 Surrender of Property and Collateral.

Upon Plan confirmation, the Debtor will surrender all right, title and interest in the following collateral in full satisfaction of
the secured claim:

                            Creditor                                                   Collateral Surrendered
-NONE-

The automatic stay and the co-debtor stay will terminate as to the collateral upon confirmation, and the creditor
may repossess, foreclose, or sell the collateral without the need to file a motion for relief from stay. If the creditor believes
it will have a deficiency claim, it must amend its timely filed secured proof of claim within 90 days after the later of the
claims bar date or confirmation, absent leave of Court. Deficiency claims filed outside of the 90-day period will be
disallowed without further order of the Court.

Part 5:      Treatment of Priority Unsecured Claims

5.1 Domestic Support Obligation (“DSO”) Priority Claims.

Debtor will pay all post-petition DSO claims directly. Trustee will pay all allowed DSO priority claims with interest at the
below rate.
            If box is checked, § 1322(a)(4) applies and Trustee may pay less than the full amount of a government DSO
claim

 DSO Priority Creditor            Estimated Claim Amount               Interest Rate             Assigned or Owed to
                                                                                                  Governmental Unit?
                                                                                            (“government DSO claim”) See §
                                                                                                 507(a)(1)(B) (Yes/No)
-NONE-


5.2 Priority Unsecured Claims other than DSO Claims, including tax claims.

Non-DSO Priority Creditor/Tax Agency                   Est. Amount of Claim                      Basis for Priority Claim
Internal Revenue Service                                                        1,664.30 2021 tax debt


Part 6:    Separately Classified Secured and Unsecured Claims
These are claims that are not treated elsewhere in the Plan.

6.1 Separately Classified Claims Paid by the Trustee:

          Creditor                        Collateral                    Secured or            Estimated Claim           Interest
                                                                        Unsecured                 Amount                  Rate
-NONE-




6.2 Separately Classified Claims Paid Direct by Debtor or co-borrower (other than arrearage, which will be paid
by the Trustee):

   Creditor          Collateral      Co-Borrower   Estimated               Estimated        Interest     Monthly      No. of
                                       (Yes/No)  Claim Amount              Arrearage          Rate       Payment    Months
                                                                                                         Amount    Remaining
Toyota           2019 Toyota         No                  $30,332.00                 $0.00    Contract      $714.00 55
Financial        Tundra
Freedom          2019 KTM 790        No                    $2,979.00                $0.00    Contract        $184.00 15
Road             Duke
Financial        Motorcycle
                                                                 -5-

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Part 7:      Executory Contracts and Unexpired Leases ("Contracts and Leases")

Debtor will assume the following Contracts and Leases:

Creditor                             Description of Contract or Lease              Estimated Arrearage        Interest Rate
-NONE-

Debtor will make all post-petition payments on assumed Contracts and Leases directly. Trustee will pay the
allowed pre-petition arrearage payments on assumed Contracts and Leases at the interest rate set forth above. All other
Contracts and Leases are rejected

Part 8:      Lien Avoidance – Other than Mortgages

Debtor moves the Court to avoid upon confirmation the judicial liens or nonpossessory, nonpurchase money security
interests (“Lien or Interest”) set forth below to extent the Lien or Interest impairs an exemption to which the Debtor is
entitled under § 522(b). The Trustee will pay in full the amount, if any, of the Lien or Interest that is not avoided as an
allowed secured claim, with interest as set forth below, with the balance treated as a non-priority unsecured claim.

   Creditor       Description      Amount of         Property           Value of       Value of          Total     Amount of
                   of Lien or        Lien or                            Property       Claimed       amount of       Lien or
                    Interest        interest                                         exemptions       all other    interest to
                                                                                                       liens or    be avoided
                                                                                                      interests
-NONE-

The Lien or Interest will be avoided on confirmation as set forth above. If the creditor timely objects, the confirmation
hearing will include a lien avoidance hearing under Â§ 522(f). Lien avoidance requires service in accordance with
Rule 7004.

Part 9:      Treatment of Non-priority, Unsecured Claims

The minimum amount the Debtor must pay to all classes of allowed non-priority unsecured claims is          or 100%
plus interest at the rate of 1 percent per annum. See Exhibit 1 (Best Interest of Creditors Test Calculation) attached
to this Plan

Part 10:     Vesting of Estate Property

Check one:

   Property of the estate, other than § 1306 property, will vest in the Debtor on Plan confirmation
   Property of the estate will vest in Debtor upon the entry of discharge, or upon dismissal or closing of the case without
discharge

If the case is converted to another chapter, property of the estate will vest in accordance with applicable law

Part 11:     Order of Distribution

Upon confirmation, the Trustee will make distributions from Plan Payments to pay the Trustee’s fees and allowed claims
in the following order of priority:

          a. First, Trustee’s fees at in the percentage fixed by the U.S. trustee;
          b. Second, post-petition monthly mortgage payments on claims secured by real property;
          c. Third, administrative expenses, including attorney’s fees;
          d. Fourth, other secured claims, arrearages owing under mortgages and/or assumed contracts and leases;
          e. Fifth, priority unsecured claims, other than government DSO claims being paid less than 100%;
          f. Sixth, government DSO claims being paid less than 100%; and
          g. Seventh, non-priority unsecured claims.
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Starting with category c., Trustee will pay claims in full before making any payment on claims in the next category.
Distributions will be paid pro rata within each category and will be sent to the creditor’s payment address of record.
Trustee will make distributions only to the extent of available funds, may exercise reasonable discretion in
determining the timing and amount of distributions, and is not required to make distributions to any creditor less
than the minimum specified in Rule 3010(b).

Part 12:    Identification of Amendment(s) and Explanation for Amendment(s)

If this is an amended Plan, the amended Plan provisions and the reason for the amendment(s) are as follows:
 Plan Provision                 Amendment                          Reason for Amendment




Part 13:    Other Standard Provisions

13.1 Pre-petition Arrearage Claims. Debtor must list all pre-petition arrearages for all claims paid pursuant to §
1322(b)(5). If the claim is not scheduled or treated in the Plan, whether the continuing payments are paid by the Debtor
or the Trustee, the Trustee is authorized to pay the allowed, pre-petition claim in full. Interest will not be paid unless stated
in the Plan or ordered by the Court.

13.2 Post-petition Claims. Trustee will pay administrative expenses for post-petition taxes per § 1305 upon the filing
of the claim. Any additional fees, charges, and expenses noticed under Rule 3002.1(c) will be treated as a secured
claim and paid by the Trustee upon the filing of the notice of additional fees, charges and expenses under Rule
3002.1(c). Trustee will pay other administrative expense claims only after Court approval. Debtor will increase
Plan Payments as necessary to fund any required payments, plus Trustee’s fees. Other post-petition claims will not
be paid unless a Plan modification is filed and approved.

13.3 Lien Retention. Unless provided otherwise in the Plan, secured creditors will retain their liens until full payment of
their claims secured by collateral as determined under applicable non-bankruptcy law.

13.4 Adequate Protection Payments. Trustee may make pre-confirmation adequate protection payments to secured
creditors if the creditor or Debtor files a certification that, (1) the Plan provides for adequate protection payments; (2) the
debt and collateral are listed on Schedule D; and (3) the creditor has timely filed a secured proof of claim that includes all
required documentation. Unless the Court orders otherwise, the payments will be 1% of the claims that will be paid in full,
or 1% of the value of the collateral for bifurcated claims. Trustee will not be required to make adequate protection
payments on claims of less than $2,000. Trustee will calculate the adequate protection payments using reasonable
discretion. Trustee will make monthly adequate protection payments until confirmation. Thereafter, Trustee will use
reasonable discretion to disburse the remaining balance of the allowed claim in accordance with Part 11. If the Plan
Payments are insufficient to pay adequate protection, Trustee will make the payments pro rata. Trustee will apply
adequate protection payments to the principal amount of the creditor’s allowed secured claim.

13.5 Debtor Refunds. Upon written request of the Debtor, the Trustee is authorized to refund to the Debtor, without Court
approval, any erroneous overpayment of regular monthly payments received during the term of the Plan that have not
been previously disbursed

13.6Debt Secured by Principal Residence. A creditor may mail Debtor all correspondence, notices, statements,
payment coupons, escrow notices and default notices concerning any change to the monthly payment or interest rate
without violating the automatic stay. Creditor must also comply with Rule 3002.1.

13.7 Separate Lien Avoidance Orders. If this Plan includes a motion to avoid a nonpossessory, nonpurchase money
security interest or judicial lien, Debtor may submit separate orders avoiding such liens together with the confirmation
order. If this Plan includes a motion to strip a wholly unsecured mortgage upon discharge or avoid a lien upon discharge,
Debtor may submit a separate order after discharge.

13.8 Claims Objections. The deadline to object to a timely filed proof of claim is 60 days after the applicable claims bar
date unless extended by further order of the court.
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Part 14:      Nonstandard Provisions

The Plan includes the following nonstandard provision(s)

To the extent a nonstandard provision conflicts with any other Plan provision, the nonstandard provision controls. The
nonstandard provisions will be effective only if the “included” box is marked in Part 1.3. Any nonstandard
provision placed elsewhere in the Plan is void.

By signing this Plan below, the attorney or self-represented Debtor certifies that this Plan contains no
nonstandard provision other than those set out in this Part 14.

Part 15:      Signatures

/s/ R. "Trey" Arvizu, III                     Date    March 19, 2024
Signature of Debtor's Attorney
Name of Debtor's Attorney R. "Trey" Arvizu, III

/s/ William Thomas Sheehan                    Date    March 19, 2024
Signature of Debtor

                                              Date
Signature of Debtor




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                                                Exhibit 1
                          BEST INTEREST OF CREDITORS TEST (“BICT”) CALCULATION


    Asset                                           Value      Costs of     Exemption      Secured Debt                   Net
                                                             Sale (COS)                                         Non-Exempt
                                                                                                              Value of Asset
                                                                                                             (Value less COS
                                                                                                              less Exemption
                                                                                                                less Secured
                                                                                                                        Debt)
1   2019 Toyota Tundra                          $30,332.00           0.00          0.00         30,332.00                0.00

2   2019 KTM 790 Duke Motorcycle                 $6,190.00           0.00      3,211.00           2,979.00               0.00

3   Couch, TV stand and 70"                      $2,000.00           0.00          0.00           9,113.00               0.00
    television
    Location: 5095 Kensington Way,
    Las Cruces NM 88012
4   Thrift Savings Plan: ederal                $109,000.00           0.00    109,000.00               0.00               0.00
    Retirement Thrift Investment
    Board
                                                               Total Net Value of Non-Exempt Assets:                     0.00



                                                                     {
                                                                               Less (25% of first $5,000):               0.00
                                                      § 326(a)                Less (10% of next $45,000)                 0.00
                                                    calculation              Less (5% of next $950,000):                 0.00
                                                                        Less (3% of amount over $1MM):                   0.00
                                             Less Chapter 7 Administrative Expenses as explained below:                  0.00
                                                                   Amount to be paid to satisfy BICT:                    0.00

       Explanation of other Chapter 7 Administrative Expenses:




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